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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

THE PHOENIX INSURANCE COMPANY                          Civ. A. No. 3:19-cv-00449 (SRU)
LTD., et al.,

               Plaintiffs,

       v.

TEVA PHARMACEUTICAL INDUSTRIES
LTD., et al.,

               Defendants.                             December 2, 2019


                                  JOINT STATUS REPORT

       Plaintiffs, The Phoenix Insurance Company Ltd., The Phoenix Pension Ltd., Excellence

Gemel & Hishtalmut Ltd., Excellence Kesem ETNS, and Excellence Mutual Funds, and

Defendants, Teva Pharmaceutical Industries Ltd., Teva Pharmaceuticals USA, Inc., Erez

Vigodman, Eyal Desheh, Sigurdur Olafsson, Yaacov Altman, Allan Oberman, Yitzhak

Peterburg, Dipankar Bhattacharjee, Michael McClellan, Deborah Griffin, and Maureen

Cavanaugh (collectively, the “Parties”) jointly submit this status report to the Court. The Parties

state as follows:

       1.      This action and 15 other direct actions pending in this District are related to the

pending putative class action styled Ontario Teachers’ Pension Plan Board, et al. v. Teva

Pharmaceutical Industries Ltd., et al., No. 3:17-cv-00558 (SRU) (the “Ontario Action”).

       2.      Per this Court’s May 30, 2019 Order (ECF No. 71), this action has been stayed

pending a decision on the motions to dismiss of the defendants in the Ontario Action. The Order

required the Parties to meet and confer within 21 days of that decision, and propose to the Court

a schedule for further proceedings or a further deferment of or motion to stay proceedings. (Id.)
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       3.      On September 25, 2019, this Court denied in substantial part the motions to

dismiss of the majority of the defendants in the Ontario Action. Ontario, ECF No. 283 (Sept.

25, 2019) (the “September 25 Order”).

       4.      On October 16, 2019, the Parties submitted a Joint Status Report (ECF No. 100),

stating that the Parties were engaged in meet and confer discussions in an effort to reach an

agreement on the scheduling of further proceedings that would enable this Court and the parties

to manage the related actions in an efficient and streamlined manner.           The Parties then

committed to providing the Court with a subsequent status report by two weeks after the Court

entered a scheduling order in the Ontario Action.

       5.      On November 18, 2019, the Court issued a Civil Case Management Order in the

Ontario Action requiring that the parties in the Ontario Action “make submissions regarding the

consolidation of [the Ontario Action] and the 19 other related actions,” including this action, “no

later than December 13, 2019.” Ontario, ECF No. 298 (Nov. 18, 2019).

       6.      Consistent with the Parties’ October 16, 2019 Joint Status Report and the Court’s

November 18, 2019 Civil Case Management Order in the Ontario Action, the Parties are

engaged in meet and confer discussions in an effort to reach an agreement that will enable this

Court and the parties to manage the related actions in an efficient and streamlined manner, and

that the parties in the Ontario Action will make a submission to the Court no later than

December 13, 2019. At the same time, the Parties will submit a schedule for Plaintiffs to file an

amended complaint and a briefing schedule in the event that Defendants move to dismiss.




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Respectfully submitted,                    Respectfully submitted,

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